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                      CASENO     .
                                               17 -2 0 5
                                      18U.S.C.j1343
                                      18U.
                                         S.C.j982(a)(1)(C)                  CR-BLOOM
UNITED STATESOFAMERICA                                                                     N ALLE

VS.


REN EL JUN IO R BA ZILE,

              Defendant.
                                      /

                                          IN DIC TM EN T

        The GrandJury chargesthat:
                                           C O U NT S 1-12
                                            W ire Fraud
                                          (18U.S.C.j 1343)
        From on or about July 19,2014,through on or about M ay 12,2015,in M iam i-D ade and

Brow ard Counties,in the Southern D istrictofFlorida,and elsew here,the defendant,

                                     REN EL JU NIO R B AZIL E,

did knowingly,and w ith the intentto defraud,devise,and intend to devise,a schem e and artifice to

defraud,and to obtain m oney and property by m eans ofm atedally false and fraudulentpretenses,

representations,and prom ises,know ing thatthe pretenses,representations,and prom ises were false

and fraudulentwhen m ade,and,forthe purpose ofexecuting the schem e and artifice,did know ingly
                                                                                                 6

transm itand causeto betransm itted,by m eansofw ire com m unication in interstate com m erce,certain

writings,signs,signals,pictures and sounds,in violation of Title 18,U nited States Code,Section

1343.
Case 1:17-cr-20527-BB Document 3 Entered on FLSD Docket 07/26/2017 Page 2 of 6



                       PU RPO SE O F TH E SCH EM E A N D A R TIFICE

              The purpose ofthe schem e and artitice was for REN EL JUN IO R BA ZILE and his

accomplicesto unjustlyenrich themselvesbycausing employeesatM oneyGram servicecentersat
W alm artstoresto send falseand fraudulentmoney transfersand picking up thoseillicitproceedsfor

theirown use and gain.

                                  SC H EM E A ND A R TIFIC E

              REN EL JUN IO R BAZILE and his accom plices caused employees atM oneyG ram

service centers at W alm artstores located throughoutthe United States to send false and fraudulent

m oney transfers.

              R ENE L JU NIO R BA ZILE and hisaccom plices picked up the false and fraudulent

m oney transfers atM oneyG ram service centers atW alm artstores located in the Southern Districtof

Floridausing false nam es.

              R ENEL JU M O R BA ZILE and his accom plices confirm ed their entitlem entto the

illicit proceeds by answ ering pre-detennined seculity questions and giving other inform ation

previously provided to BA ZILE and others by the accom plices who had initially caused em ployees

at M oneyGram selwice centers at W alm artstores located throughoutthe U nited States to send the

false and fraudulentw ires.

                                        U SE O F W IR ES

       5.      On oraboutthe datesspecified asto each countbelow,in M iami-Dadeand Broward

Counties,in the Southern D istrictof Florida,and elsew here,RE NEL JUN IO R BA ZILE,for the

purpose ofexecuting and in furtherance ofthe aforesaid schem e and artifice to defraud,and to obtain

m oney and property by m eans of m aterially false and fraudulent pretenses,representations,and

prom ises,know ing thatthe pretenses,representationsjand prom ises were false and fraudulentw hen

m ade,did knowingly transm itand cause to be transm itted in interstate com m erce,by m eansofw ire
    Case 1:17-cr-20527-BB Document 3 Entered on FLSD Docket 07/26/2017 Page 3 of 6



com munication,certain writings,signs,signals,pictures,and sounds,asdescribed below:
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                                                           Transm ission from Southern D istrictofFlorida to
                          July 19,2014                     M oneyGram in M innesotafor$740.49m oney transferwith
                                                           reference num ber47025837
                                                           Transm ission f'
                                                                          rom Southern D istrictofFlolida to
          2               July 22,2014                     M oneyGram in M innesota for$740.00m oneytransferwith
                                                           reference num ber 54025113
                                                           Transm ission from Southel'n D istrictofFlorida to
          3               July 26,2014                     M oneyGram in M innesotafor$735.00 m oneytransferwith
                                                           reference num ber48892296
                                                           Transm ission from Southern D istrictofFlorida to
                          July29,2014                      M oneyGram in M innesotafor$823.23m oney transferwith
                                                           reference num ber 29305165
                                                           Transm ission from Southern D istrictofFlorida to
                          July 29,2014                     M oneyGram in M innesota for$740.00m oneytransferwith
                                                           reference num ber34215868
                                                           Transm ission from Southern D istrictofFloridato
                         August10,2014                     M oneyGram in M innesota for$729.00 moneytransferwith
                                                           reference num ber 17895086
                                                           Transm ission from Southern D istlictofFlorida to
                         August17,2014                     M oneyGram in M imzesotafor$722.22 money transferwith
                                                           reference num ber63326048
                                                           Transm ission from Southern D istrictofFlorida to
          8              August17,2014                     M oneyGram in M innesotafor$739.39 m oney transferwith
                                                           reference num ber93188432
                                                           Transm ission from Southern DistrictofFlorida to
                         September6,2014                   M oneyGram in M innesota for$740.00 moneytransferwith
                                                           reference num ber97304436
                                                           Transm ission from Southern D istrictofFloridato
          10             September6,2014                   M oneyGram in M irmesotafor$738.00 m oney transferwith
                                                           reference num ber 36332467
                                                           Transm ission from Southern DistrictofFlorida to
          11             September6,2014                   M oneyGram in M innesota for$738.00 m oney transferwith
                                                           reference num ber68068741
                                                           Transm ission from Southern DistrictofFlorida to
                          M ay 12,2015                     M oneyGram in M innesota for$870.14 moneytransferwith
                                                           reference num ber 30411809

               In violation ofTitle 18,U nited States Code,Sections 1343 and 2.
                                                                               3
Case 1:17-cr-20527-BB Document 3 Entered on FLSD Docket 07/26/2017 Page 4 of 6




                               FO R FEITU RE A LLEG A TIO N S

               The allegations of this Indictm ent are re-alleged and by this reference fully

incorporated herein forthe pum ose ofalleging crim inalforfeiture to the U nited StatesofA m edca of

certain property in which the defendant, R EN EL JU NIO R BA ZIL E , has an interest.

               U pon conviction of a violation of Title 18, United States Code, Section 1343, as

alleged in this lndictm ent,the defendant shall forfeit to the United States of A m erica, pursuant to

Title 18,United States Code, Section 981(a)(1)(C),anypropertyrealorpersonal,which constitutes

oris derived from proceedstraceable to such violation.

       A llpursuantto Title l8,U nited States Code, Section 981(a)(1)(C),asmadeapplicableby

Title28,UnitedStatesCode,Section2461(c),andtheproceduressetforth in Title21, U nited States
Code,Section 853.


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                                                    O FFLSD  Docket
                                                        FLOR IDA    07/26/2017 Page 5 of 6

    UNITED STA TES O F AM ER ICA                   CA SE NO.
V.
                                                   C ERTIFICATE O F TRIA L ATTO RN EY.
RENEL JU NIO R BA ZILE.
                                            /      Superseding CaseInform ation:


CourtDivision:(sel
                 ectone)                           New Defendantts)                        Yes   -.- .   -    No
                                                   NumberofNew Defendants
-   x     M iami              Key W est            Totalnumberofcounts
          FTL                 MT B      FTP
          ldo hereby certify that:
                   lhave carefully considered theallegationsofthe indictment, thenumberofdefendants,the num ber
                   ofprobablewitnessesand the legalcomplexitiesoftheIndictment/lnform ation attached hereto.
                   lam aware thatthe inform ation supplied on this statem entwillberelied upon by the Judgesofthis
                   Courtin setting theircalendarsand scheduling crim inaltrialsunderthem andate ofthe Speedy Trial
                   Act,Title 28 U .S.C.Section 3161.
                   Interpreter:     (YesqrNo)      No      -
                   Llstlanguageand/ordlalect
                   Thiscase willtake      2-3      days forthepartiesto try.
                   Please check appropriate category and type ofoffense listed below :
                   (Checkonlyone)                                     (Checkonlyone)
          l        0 to 5 days                       X                Petty
          11       6 to 10 days                                       M inor
          ll1      l1 to 20 days                                      M isdem .
          IV       21to 60 days                                       Felony
          V        61daysand over
          6.
          lfyes:
                 Hasthiscasebeenpreviously filed inthisDistrictCourt? (YesorNo)                          No
          Judge:                                               Case No.
          (Attachcopyofdispositiveorder)
          Hasacomplaintbeenfiledinthismatter?                  (YesorNo)        No
          Ifyes:
          M agistrate CaseNo.
          Related M iscellaneousnumbers:
          Defendantts)infederalcustodyasof
          Defendantts)instatecpstody asof
          Rule20 from the Distrlctof
          lsthisapotentialdeath penaltycase?(YesorNo)                     No

                   Doesthiscase originate from a matterpending in theN orthern Region oftheU .S.Attorney'sOffice
                   priorto October 14,2003?       Yes . .. . . - ...-
                                                      .-                  No X         .




                                                               ANNE PT CN AM ARA
                                                               A SSISTANT UNITED STATES ATTORNEY
                                                               CourtI.D .No.A5501847


*penalty Sheetts)attached                                                                                          RESJ5/3/17
Case 1:17-cr-20527-BB Document 3 Entered on FLSD Docket 07/26/2017 Page 6 of 6




                         U NITED STA TE S D ISTR ICT C O U R T
                         SO U TH ER N D ISTRIC T O F FLO R ID A

                                    PEN A LTY SH EE T

Defendant's N am e: REN EL JU NIO R BA ZILE

C ase N o:

Counts#:1-12

W ire Fraud

Title 18.United StatesCodesSection 1343

*M ax.Penalty:      20 Y ears'lm prisonm ent

WRefers only to possible term ofincarceration,does notinclude possible fines, restitution,
specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
